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                         IN THE BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  _______________________________________
  JACLYN STASIK                          :                ADVERSARY PROCEEDING
  11103 Drake Drive                       :
  Philadelphia, PA 19154                  :               BANKRUPTCY CASE NO.
                    Plaintiff,            :               17-11784-jkf
                 v.                       :
  JENNIFER SCHAEFFER                      :
  10214 Calera Road                       :
  Philadelphia, PA 19114                  :
                    Defendant.            :

     COMPLAINT FOR DETERMINATION OF DISCHARGEABILITY AND
   OBJECTION TO DEBTOR'S DISCHARGE PURSUANT TO 11 U.S.C. §523(a)(6)

                           I.      PRELIMINARY STATEMENT

          1.      Defendant filed for bankruptcy protection under Chapter 13 of the U.S.

  Bankruptcy Code on March 14, 2017, while she was the Defendant in an action to

  recover damages for Intentional Infliction of Emotional Distress, filed by the Plaintiff in

  the Philadelphia Court of Common Pleas on February 22, 2017 under Case Identification

  Number 170205260. Plaintiff's state court action derives from the Defendant's unlawful

  use of her access credentials as a nurse at Aria Hospital's Torresdale Campus to access

  the Plaintiff's confidential patient information, then reveal that information to the

  Plaintiff's boyfriend, (the Defendant's ex-boyfriend), specifically, that the Plaintiff has a

  medical condition which prevents her from being able to have children.

          Plaintiff files this Adversary Proceeding pursuant to 11 U.S.C. §523(a)(6) to

  contest the dischargeability of Defendant's unsecured and unliquidated debt to the

  Plaintiff, as the Defendant's conduct leading to the filing of Plaintiff's state court action

  was indisputably willful and malicious. Accessing and unlawfully disclosing Plaintiff's

  protected medical information was only one of many misdeeds Defendant performed in a
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  months-long campaign of harassment against the Plaintiff and her boyfriend, which

  ultimately resulted in the issuance of a Protection from Abuse Order against the

  Defendant by the Plaintiff's boyfriend, and the Defendant's May 2017 arrest for Contempt

  of Court for violation of that Order. The willfulness of Defendant's violation of Plaintiff's

  patient privacy is further evidenced by Defendant's termination from employment with

  Aria Hospital as a direct result of that violation. The Plaintiff therefore requests that this

  Honorable Court grant judgment in her favor and against the Defendant, and exempt

  Plaintiff's claim against the Defendant from discharge in Defendant's pending, above-

  captioned bankruptcy case.

                                          II.          JURISDICTION

             2.      This Court has jurisdiction to hear and determine all core proceedings

  under Title 11 of the United States Code. 1 A proceeding to determine the dischargeability

  of a particular debt is considered a core proceeding pursuant to 28 U.S.C. §157(b)(2)(I).

             3.      This Court has jurisdiction over the Defendant pursuant to Federal Rule of

  Bankruptcy Procedure 7004(f).

                                                III.     PARTIES

             4.      Plaintiff Jaclyn Stasik is an adult individual residing at 11103 Drake

  Drive, Philadelphia, Pennsylvania 19154.

             5.      Defendant Jennifer Schaeffer is an adult individual residing at 10214

  Calera Road, Philadelphia, Pennsylvania 19114.

                                  IV.      FACTUAL ALLEGATIONS

             6.      Plaintiff instituted an action against the Defendant in the Philadelphia

  County Court of Common Pleas on February 22, 2017 2 to recover damages for
  1
      28 U.S.C. §§157(b)(1) and (b)(3)
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  Intentional Infliction of Emotional Distress, arising from Defendant's willful and

  malicious abuse of her patient information access credentials as a nurse at Aria Hospital's

  Torresdale Campus to unlawfully access Plaintiff's protected medical information on July

  17, 2016, and then disclose that information - specifically, that Plaintiff is incapable of

  having children - to the Plaintiff's boyfriend, who is the Defendant's ex-boyfriend, in

  order to harm the Plaintiff and try to destroy the Plaintiff's relationship with her

  boyfriend.

             7.       The willfulness of Defendant's actions as set forth above is further

  evidenced by a letter written from Aria Hospital to Plaintiff on September 12, 2016

  confirming that Defendant improperly accessed Plaintiff's patient information 3 ;

  Defendant has since been terminated by Aria Hospital.

             8.       Defendant's violation of Plaintiff's protected medical information on July

  17, 2016 is only one example of numerous willful and malicious actions the Defendant

  has undertaken in an extensive campaign of harassment against the Plaintiff and her

  boyfriend, which has resulted in the issuance of a Protection from Abuse Order against

  the Defendant by the Plaintiff's boyfriend, and the Defendant's May 2017 arrest for

  Contempt of Court for violation of that Order.

             9.       Defendant was served with a copy of the state court Complaint on

  February 26, 2017, and filed a Voluntary Petition for bankruptcy under Chapter 13 of the

  U.S. Bankruptcy Code in this Court on March 14, 2017, less than three weeks after

  receiving service of the state court Complaint.




  2
      A copy of Plaintiff's state court Complaint is enclosed as "Exhibit A."
  3
      A copy of this letter is attached as "Exhibit B."
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         10.     Defendant's Counsel has since asserted an automatic stay of the pending

  state court proceedings pursuant to 11 U.S.C. §362(a).

       COUNT I - NON-DISCHARGEABILITY OF PLAINTIFF-CREDITOR'S
      UNLIQUIDATED DAMAGES CLAIM AGAINST DEFENDANT-DEBTOR

         11.     Plaintiff hereby incorporates all preceding paragraphs as though same

  were set forth at length hereafter.

         12.     Bankruptcy Code §523(a)(6) provides, in relevant part, that:

                         "(a) A discharge under section 727, 1141, 1228(a), 1228(b), or
                         1328(b) of this title does not discharge an individual debtor from
                         any debt--

                         (6) for willful and malicious injury by the debtor to another entity
                         or to the property of another entity

         13.     All or part of the Defendant-Debtor's debt to the Plaintiff-Creditor is non-

  dischargeable pursuant to §523(a)(6), as the Defendant's actions regarding the state court

  action were willful and malicious, and caused injury to the Plaintiff as set forth in the

  state court Complaint in Civil Action, attached as "Exhibit A" and hereby incorporated by

  reference.

         WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an

  Order determining that the Defendant's unsecured and unliquidated debt to the Plaintiff is

  non-dischargeable under Bankruptcy Code §523(a)(6) or, in the alternative, denying the

  Defendant's discharge under the relevant portions of the Bankruptcy Code, and granting

  Plaintiff such other and further relief as this Court may deem appropriate.

                                                DEFINO LAW ASSOCIATES, P.C.


                                                By:
                                                      Benjamin J. Simmons, Esq.
                                                      Attorney for Plaintiff-Creditor
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                      Exhibit A
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  DEFINO LAW ASSOCIATES, P.C.
  By: Benjamin J. Simmons, Esq.
  PA Bar ID #314855                                                                                Filed and Attested by the
  2541 South Broad Street                                                                         Office of Judicial Records
                                                                                                      22 FEB 2017 12:57 pm
  Philadelphia, PA 19148                                                                                   K. EDWARDS
  Tel: (215) 551-9099
  Fax: (215) 551-4099                                                    Attorney for Plaintiff

  JACLYN STASIK                                                    :     PHILADELPHIA COUNTY
  11103 Drake Drive                                                :     COURT OF COMMON PLEAS
  Philadelphia, PA 19154                                           :     CIVIL TRIAL DIVISION
                     Plaintiff,                                    :
                 v.                                                :
  JENNIFER SCHAEFFER                                               :
  10214 Calera Road                                                :
  Philadelphia, PA 19114                                           :
                 and                                               :
  ARIA HEALTH SYSTEM                                               :
  10800 Knights Road                                               :
  Philadelphia, PA 19114                                           :
                     Defendants.                                   :

                                                        NOTICE

                          NOTICE                                                           AVISO

      You have been sued in court. If you wish to defend           Le han demandado a usted en la corte. Si usted quiere
    against the claims set forth in the following pages, you       defenderse de estas demandas expuestas en las paginas
       must take action within twenty (20) days after this       siguientes, usted tiene veinte (20) dias de plazo al partir de
     complaint and notice are served, by entering a written         la fecha de la demanda y la notificacion. Hace falta a
   appearance personally or by attorney and filing in writing       sentar una comparencia escrita o en persona o con un
  with the court your defenses or objections to the claims set   abogado y entregar a la corte en forma escrita sus defensas
  forth against you. You are warned that if you fail to do so     o sus objeciones a las demandas en contra de su persona.
  the case may proceed without you and a judgment may be           Sea avisado que si usted no se defiende, la corte tomara
  entered against you by the court without further notice for     medidas y puede continuar la demanda en contra suya sin
  any money claimed in the complaint or for any other claim          previo aviso o notificacion. Ademas, la corte puede
   or relief requested by the Plaintiff. You may lose money      decidir a favor del demandante y require que usted cumpla
          or property or other rights important to you.           con todas las provisiones de esta demanda. Usted puede
                                                                       perder dinero o sus propiedades u otros derechos
     YOU SHOULD TAKE THIS PAPER TO YOUR                                             importantes para usted.
    LAWYER AT ONCE. IF YOU DO NOT HAVE A
   LAWYER OR CANNOT AFFORD ONE, GO TO OR                            LLEVE ESTA DEMANDA A UN ABOGADO
   TELEPHONE THE OFFICE SET FORTH BELOW                          INMEDIATAMENTE. SI NO TIENE ABOGADO O
    TO FIND OUT WHERE YOU CAN GET LEGAL                             SI NO TIENE EL DINERO SUFICIENTE DE
                   HELP.                                          PAGAR TAL SERVICO, VAYA EN PERSONA O
                                                                  LLAME POR TELEFONO A LA OFICINA CUYA
           LAWYER REFERENCE SERVICE                               DIRECCION SE ENCUENTRA ESCRITA ABAJO
         1101 MARKET STREET, 11TH FLOOR                               PARA AVERIGUAR DONDE SE PUEDE
            PHILADELPHIA, PA 19107-2911                                 CONSEGUIR ASISTENCIA LEGAL.
                   (215)238-6333
                                                                        SERVICIO DE REFERENCIA LEGAL
                                                                        1101 MARKET STREET, 11TH FLOOR
                                                                             FILADELFIA, PA 19107-2911
                                                                                   (215) 238-6333




                                                                                                                   Case ID: 170205260
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  DEFINO LAW ASSOCIATES, P.C.
  By: Benjamin J. Simmons, Esq.
  PA Bar ID #314855
  2541 South Broad Street
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  Tel: (215) 551-9099
  Fax: (215) 551-4099                                   Attorney for Plaintiff

  JACLYN STASIK                                     :   PHILADELPHIA COUNTY
  11103 Drake Drive                                 :   COURT OF COMMON PLEAS
  Philadelphia, PA 19154                            :   CIVIL TRIAL DIVISION
                     Plaintiff,                     :
                 v.                                 :
  JENNIFER SCHAEFFER                                :
  10214 Calera Road                                 :
  Philadelphia, PA 19114                            :
                 and                                :
  ARIA HEALTH SYSTEM                                :
  10800 Knights Road                                :
  Philadelphia, PA 19114                            :
                     Defendants.                    :

                             COMPLAINT IN CIVIL ACTION

         1.      Plaintiff is an adult individual residing at the above-captioned address.

         2.      Defendant Jennifer Schaeffer is an adult individual residing, upon

  information and belief, at the above-captioned address, and was at all times relevant

  hereto an employee of Defendant Aria Health System and was given access to

  confidential patient medical information as a part of her duties as an employee for same.

         3.      Defendant Aria Health System ("Aria") is a non-profit organization duly

  registered in Pennsylvania which has its principal place of business at its Torresdale

  hospital campus at the above-captioned address, and was at all times relevant hereto the

  employer of Defendant Jennifer Schaeffer and was responsible for the training,

  supervision, and discipline of Ms. Schaeffer so as to ensure that she performed her job

  duties with appropriate care for the protection of patient confidentiality.




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         4.      Sometime prior to July 17, 2016, Plaintiff's boyfriend, Jorge Camilo, was

  involved in a romantic relationship with Defendant Schaeffer, which ended on bad terms

  following a prolonged pattern of abusive behavior toward Mr. Camilo on the part of Ms.

  Schaeffer, which continued up to and beyond July 17, 2016, and of which Defendant Aria

  was or had reason to be aware prior to such date.

         5.      In or about May 2016, Defendant Schaeffer was served at her place of

  employment, Defendant Aria's Torresdale location, with a Notice of Hearing regarding an

  application submitted to Philadelphia Family Court by Mr. Camilo for a Temporary

  Protection from Abuse Order due to Defendant Schaeffer's continued abusive behavior

  toward him.

         6.      Upon information and belief, Defendant Schaeffer's supervisor and/or

  other colleagues was/were aware that she had been served with the above-mentioned

  Notice of Hearing, and was/were substantially aware of the allegations underlying same.

         7.      Also sometime prior to July 17, 2016, Plaintiff received medical treatment

  as a patient at Defendant Aria's Torresdale location at 10800 Knights Road, during which

  time a medical history was taken of her, which noted that Plaintiff suffers from

  endometriosis and is incapable of bearing children.

         8.      On July 17, 2016, Defendant Schaeffer unlawfully and intentionally

  accessed Plaintiff's confidential medical information through the medical record

  management system maintained by Defendant Aria, using access credentials provided to

  her by Defendant Aria, for purposes of obtaining information she could use to harass and

  embarrass the Plaintiff in furtherance of her campaign of abuse against Mr. Camilo.




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         9.      Defendant Aria has since admitted that Defendant Schaeffer did in fact

  improperly access Plaintiff's confidential medical information through its records

  management system.

         10.     Sometime after July 17, 2016, Defendant Schaeffer contacted Mr. Camilo

  and revealed to him that Plaintiff had endometriosis and could not bear children, knowing

  that Plaintiff had not yet made Mr. Camilo aware of such information, and knowing that

  it would cause Plaintiff undue and excessive anxiety and embarrassment, as well as

  severe emotional distress.

         11.     At all times relevant to the events giving rise to this cause of action,

  Defendant Aria had the ability to restrict Defendant Schaeffer's access to Plaintiff's and

  other individuals' confidential medical information, but failed to do so, despite knowing

  or having reason to know that Defendant Schaeffer would or was likely to access and use

  such information for improper purposes.

  Count I - Intentional Infliction of Emotional Distress - Plaintiff v. Jennifer Schaeffer

         12.     Plaintiff hereby incorporates all preceding paragraphs as though same

  were set forth at length hereafter.

         13.     Defendant Jennifer Schaeffer's conduct with regard to the dissemination of

  Plaintiff's confidential medical information was extreme and outrageous, intentional

  and/or reckless, and caused the Plaintiff severe emotional distress, anxiety, and

  embarrassment.

         14.     Defendant Jennifer Schaeffer's conduct was so outrageous as to warrant

  the imposition of punitive damages.




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         WHEREFORE, Plaintiff respectfully requests that this Honorable Court grant

  judgment in her favor and against Defendant Jennifer Schaeffer in an amount in excess of

  Fifty-Thousand Dollars ($50,000.00).

      Count II - Negligent Supervision - Plaintiff v. Defendant Aria Health System

         15.     Plaintiff hereby incorporates all preceding paragraphs as though same

  were set forth at length hereafter.

         16.     At all times relevant to the events giving rise to this action, Defendant

  Aria Health System was the employer of Defendant Schaeffer, and had the right and

  ability to supervise and restrict her access to patient confidential medical information,

  and negligently and/or recklessly failed to do so in regard to Ms. Schaeffer, despite

  knowing or having reason to know that she would, or had a propensity to, access and

  disseminate Plaintiff's confidential medical information for unlawful and improper

  purposes.

         WHEREFORE, Plaintiff respectfully requests that this Honorable Court grant

  judgment in her favor and against Defendant Aria Health System in an amount in excess

  of Fifty-Thousand Dollars ($50,000.00).

                                                Respectfully Submitted,

                                                DEFINO LAW ASSOCIATES, P.C.


                                                By:
                                                      Benjamin J. Simmons, Esq.
                                                      Attorney for Plaintiff




                                                                                       Case ID: 170205260
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                                       VERIFICATION

          I, Benjamin J. Simmons, Esquire, hereby certify that I am the attorney for the

  Plaintiff in the above-captioned action, and that the facts and averments in this Complaint

  in Civil Action are true and correct to the best of my knowledge, information, and belief.

  I understand this verification is made subject to the penalties of 18 Pa.C.S. §4904 relating

  to unsworn falsification to authorities.




  Date:    2/22/17
                                                Benjamin J. Simmons, Esq.




                                                                                      Case ID: 170205260
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                      Exhibit B
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